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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-CR-80056-ROSENBERG

  UNITED STATES OF AMERICA,

          Plaintiff,

  vs.

  KEVIN CHRISTIAN FUSCO,

        Defendant.
  ___________________________________/

                   DEFENDANT’S NOTICE REGARDING ANTICIPATED
                        LENGTH OF SENTENCING HEARING

          The defendant, Kevin Christian Fusco, through counsel, hereby files this

  Notice Regarding the Anticipated Length of his Sentencing Hearing in compliance

  with the Court’s instructions at Docket Entry 33, and in support thereof, states:

          Mr. Fusco is scheduled for sentencing on Friday, November 4, 2022 at 11 a.m.

  (DE 46). In addition to this case, he will also be sentenced at that time on a violation

  of supervised release in case number 17-CR-20275-Rosenberg. Both parties filed

  objections to the presentence investigation report, (DEs 37 & 38), and most of those

  objections must still be ruled on by the Court. (See DEs 43-1 & 47). The parties

  anticipate that Mr. Fusco’s sentencing will require between 60 and 90 minutes of

  time.

          Wherefore, the Defendant, Kevin Christian Fusco, respectfully notifies this

  Court that the sentencing in this matter will likely require more than 30 minutes.
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                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         FEDERAL PUBLIC DEFENDER

                                         By: s/M. Caroline McCrae
                                         M. Caroline McCrae
                                         Assistant Federal Public Defender
                                         Attorney for Defendant
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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on November 1, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                         s/M. Caroline McCrae
                                         M. Caroline McCrae
